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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 1:17-cv-22601-UU

 ERICKA WALKER,

                Plaintiff,

                                            v.


 CREDIT CONTROL SERVICES, INC.
 d/b/a CREDIT COLLECTION SERVICES,

                Defendant.
                                                       /

                                 STIPULATION OF DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel

 for all parties in the above captioned action, that whereas no party hereto is an infant, incompetent

 person for whom a committee has been appointed or conservatee, and no person not a party has an

 interest in the subject matter of the action, that this action is dismissed with prejudice and without

 costs to either party pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

 Dated: January 16, 2018

  For Plaintiff Ericka Walker                          For Defendant Credit Control Services,
                                                       Inc. d/b/a Credit Collection Services
  /s/ Michael Jay Ringelheim
  Michael Jay Ringelheim, Esq.                         /s/ Dale T. Golden
  RC Law Group, PLLC                                   /s/ Charles J. McHale
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                                 CERTIFICATE OF SERVICE

        I certify that on January 16, 2018, a copy of the foregoing was filed electronically in the

 ECF system. Notice of this filing will be sent to the parties of record by operation of the Court’s

 electronic filing system. Parties may access this filing through the Court’s system.

                                               /s/ Michael Jay Ringelheim
                                               Michael Jay Ringelheim
                                               RC Law Group, PLLC
                                               285 Passaic Street
                                               Hackensack, NJ 07601
                                               Attorneys for Plaintiff




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